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ANDRÉ BIROTTE JR.
United States Attorney
By: RYAN H. WEINSTEIN (213-894-8957)
United States Courthouse
312 N. Spring Street
Los Angeles, CA 90012


                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                              CASE NUMBER
                                   PLAINTIFF,
                                                                     14-MJ-00189-DUTY
                         v.
LASHAWN ANDREA LYNCH,
                                                         [PROPOSED] ORDER FOR DISMISSAL
                                   DEFENDANT               OF MAGISTRATE’S COMPLAINT


        A Magistrate’s Complaint having been filed before the United States Magistrate Andrew J.

Wistrich in Los Angeles, California, against the above-named defendant, charging violation of Title 18,

United States Code, Section 751, and the United States Attorney having moved for a dismissal of the

complaint,

        IT IS HEREBY ORDERED that said Complaint be dismissed without prejudice.


Date:
                                                    United States Magistrate Judge

Presented by:


        /s/
RYAN H. WEINSTEIN
Assistant United States Attorney

Complaint Filed: January 30, 2014

                                                    Is the person in custody?
                                                           YES
                                                                   NO
